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12                        UNITED STATES DISTRICT COURT
13                     SOUTHERN DISTRICT OF CALIFORNIA
14
       UNITED STATES OF AMERICA,                    Case No. 19-mj-10150-RBM-BAS-1
15
                                     Plaintiff,     ORDER DENYING APPEAL
16
                                                    FROM MAGISTRATE JUDGE
17           v.                                     DECISION AND AFFIRMING
18     OSVALDO MAGANA-BARBOSA,                      CONVICTION AND SENTENCE
                                                    (ECF No. 10)
19                                 Defendant.
20

21         On August 5, 2019, Defendant pled guilty without a plea agreement to
22   attempted entry into the United States in violation of title 8 U.S.C. § 1325(a)(1) and
23   was immediately sentenced to time served. (ECF Nos. 11, 15.) This appeal followed.
24   (ECF No. 10.)
25         Defendant argues his conviction should be reversed because: (1) he was treated
26   differently than other defendants prosecuted for petty offenses in violation of his due
27   process and equal protection rights; (2) Section 1325 is facially unconstitutional in
28   light of the Supreme Court’s decision in Sessions v. Morales-Santana; and (3)

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 1   Section 1325 violates the non-delegation doctrine and is void for vagueness. (ECF
 2   No. 10.) For the reasons stated below, the Court disagrees.
 3
           1.     Defendant Waived His Right to Raise Constitutional Objections to
 4                “Operation Streamline”
 5         Defendant argues that he was unconstitutionally treated differently that those
 6   prosecuted for petty offenses through the Government’s Central Violations Bureau.
 7   The Ninth Circuit soundly rejected this argument, following a similar guilty plea, in
 8   United States v. Chavez-Diaz, 949 F.3d 1202, 1206–07 (9th Cir. 2020) (providing an
 9   unconditional guilty plea constitutes a waiver of the right to appeal such
10   constitutional issues). Since Defendant’s guilty plea was unconditionally made, he
11   waived the right to raise any objections to “Operation Streamline.”
12         2.     Morales-Santana Does Not Render Section 1325 Unconstitutional
13         Defendant argues that Sessions v. Morales-Santana, 137 S. Ct. 1678 (2017),
14   renders Section 1325 unconstitutional. This Court agrees with those courts that have
15   held Morales-Santana is inapplicable to Section 1325. See, e.g., United States v.
16   Ramirez-Ortiz, 370 F. Supp. 3d 1151, 1156 (S.D. Cal. 2019) (“Morales-Santana does
17   not address the constitutionality of 8 U.S.C. § 1325, and the severability clause of the
18   Immigration and Nationality Act allows for offending provisions to be stricken
19   without affecting or invalidating the whole.”); see also United States v. Duffy, 773 F.
20   App’x 947, 949 (9th Cir. 2019) (unpublished) (“The severability clause of the
21   Immigration and Nationality Act (‘INA’) dictates that the remainder of [the Act] was
22   not affected by Morales-Santana.”).
23         This Court adopts the reasoning in those cases and finds that Section 1325 is
24   not unconstitutional.
25         3.     The Statute Does Not Violate the Non-Delegation Doctrine, Nor Is
                  It Unconstitutionally Vague
26

27         Section 1325 makes it a crime for a non-citizen to enter or attempt to enter the
28   United States at a time or place “other than as designated by immigration officers.”

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 1   Defense counsel argues this violates the non-delegation doctrine because Congress
 2   has delegated to immigration officers the ability to determine the scope of a criminal
 3   provision without providing the executive branch official with an intelligible
 4   principle to guide the official’s discretion.
 5         Congress may not delegate to another branch “powers which are strictly and
 6   exclusively legislative.” Gundy v. United States, 139 S. Ct. 2116, 2123 (2019).
 7   However, Congress “may confer substantial discretion on executive agencies to
 8   implement and enforce laws.” Id. The Supreme Court has acknowledged “that in
 9   our increasingly complex society, replete with ever changing and more technical
10   problems, Congress simply cannot do its job absent an ability to delegate power under
11   broad general directives.” Mistretta v. United States, 488 U.S. 361, 372 (1989).
12   Thus, “a statutory delegation is constitutional as long as Congress ‘lay[s] down by
13   legislative act an intelligible principle to which the person or body authorized to
14   [exercise the delegated authority] is directed to conform.’” Gundy, 139 S. Ct. at 2123
15   (alterations in original) (quoting Mistretta, 488 U.S. at 372).
16         This Court agrees with United States v. Gonzalez-Pena, 445 F. Supp. 3d 1021,
17   1029–30 (S.D. Cal. 2020), that “Defendant’s non-delegation argument is based on
18   the flawed premise that any immigration officer can arbitrarily designate ports of
19   entries.” As explained in Gonzalez-Pena:
20         Congress requires that aliens seeking lawful entrance to the United
21         States do so at a port of entry. See United States v. Corrales-Vazquez,
           931 F.3d 944, 946 (9th Cir. 2019); United States v. Aldana, 878 F.3d
22         877, 882 (9th Cir. 2017). Ports of entry can only be designated or de-
23         designated by the Secretary of Homeland Security subject to the
           Administrative Procedures Act. See 8 C.F.R. § 100.4(a). Ports of entry
24         also necessarily include facilities, staffed by immigration officials that
25         are set up to accept applications for admission. Aldana, 878 F.3d at 882.
           To interpret Section 1325(a) to permit a border patrol agent to designate
26         a portion of the border fence “on a whim” is in direct conflict with
27         Congress’s clear statutory scheme.

28   Id. Therefore, this Court agrees that Section 1325 making it illegal for an individual

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 1   to enter the United States other than a place designated by immigration officers does
 2   not violate the non-delegation doctrine.
 3           Furthermore, the statute is not unconstitutionally vague. “A statute can be
 4   impermissibly vague for either of two independent reasons. First, if it fails to provide
 5   people of ordinary intelligence a reasonable opportunity to understand what conduct
 6   it prohibits . . . . Second, if it authorizes or even encourages arbitrary and
 7   discriminatory enforcement.”        Hill v. Colorado, 530 U.S. 703, 732 (2000);
 8   Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1973). In particular, a
 9   statute is vague if it “makes criminal activities which by modern standards are
10   normally innocent,” or if it sets a net so large that law enforcement is able to pick and
11   choose who to arrest. Papachristou, 405 U.S. at 163.
12           Section 1325 provides adequate notice to people of reasonable intelligence as
13   to what is prohibited. Individuals must enter the United States through a designated
14   Port of Entry. Failure to do so by one who is not a citizen of the United States is a
15   violation. There is no suggestion that the statute encourages or even allows arbitrary
16   or discriminatory enforcement. Therefore, the argument that the statute is vague must
17   fail.
18                                       CONCLUSION
19           For the reasons stated above, Defendant’s appeal from the Magistrate Judge’s
20   decision is DENIED. (ECF No. 10.) 1 Defendant’s conviction and sentence are
21   AFFIRMED.
22           IT IS SO ORDERED.
23

24   DATED: October 20, 2020
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             The Court GRANTS Defendant’s motion for extension of time to file his opening brief
     (ECF No. 14). The Court deems his brief timely.
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